                                  CASE 0:22-cr-00243-MJD-DTS Doc. 13 Filed 09/26/22 Page 1 of 1

                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                )         COURT MINUTES - CRIMINAL
                                                         )              BEFORE: JON T. HUSEBY
                                      Plaintiff,         )                 U.S. Magistrate Judge
                                                         )
   v.                                                    )   Case No:          22-cr-243 MJD/DTS
                                                         )   Date:             September 26, 2022
Marcus Trice,                                            )   Courthouse:       Minneapolis
                                      Defendant,         )   Courtroom:        8E
                                                         )   Time Commenced:   10:37 a.m.
                                                             Time Concluded:   10:44 a.m.
                                                             Time in Court:    7 minutes



X DETENTION HRG ONLY


APPEARANCES:
   Plaintiff: Allen Slaughter, Assistant U.S. Attorney
   Defendant: F. Clayton Tyler,
                   X CJA


On X Indictment

X Deft Ordered Detained - Govt to submit proposed order


Additional Information:

Defendant arraigned, see arraignment minutes and order.
Defendant waives the detention hearing but reserves the right to reopen in the future.




                                                                                                            s/SAE
                                                                                  Signature of Criminal Duty Clerk




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